      Case 2:09-cr-00026-KJM Document 40 Filed 10/26/09 Page 1 of 2


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 3 (916) 443-7141
 4 Attorney for defendant,
   RACHEL HOLMES
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 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,                       )        No. CRS 09 0026 GEB
                                                   )
10                 Plaintiff,                      )        STIPULATION & ORDER
                                                   )        CONTINUING STATUS
11        v.                                       )        CONFERENCE AND
                                                   )        EXCLUDING TIME
12 RACHEL HOLMES, et al.,                          )
                                                   )
13                 Defendants.                     )
   ____________________________________)
14
   The parties hereby stipulate to the following:
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      1.      A status conference in this matter is set for October 23, 2009 at 9:00 a.m.
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      2.      Additional time is needed to review discovery materials documents, and to
17
              meet with client and government’s counsel. Both parties, therefore,
18
              stipulate that the status conference be continued until December 4, 2009.
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      3.      It is further stipulated by the parties that time continue to be excluded to
20
              December 4, 2009 for preparation of counsel pursuant to local code T4.
21
              18 U.S.C. 3161(h)(8)(B)(iv).
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23
       DATED: October 22, 2009                    /s/ Tim Warriner, Attorney for
24                                                Defendant RACHEL HOLMES
25
       DATED: October 22, 2009                    /s/ Daniel McConkie, Jr.
26                                                Assistant U.S. Attorney
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     Case 2:09-cr-00026-KJM Document 40 Filed 10/26/09 Page 2 of 2


 1                                    ORDER
 2        GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 3    set for October 23, 2009 be continued to December 4, 2009 at 9:00 a.m., and that
 4    time continue to be excluded to December 4, 2009, for preparation of counsel
 5    pursuant to Local Code T4, 18 U.S.C. 3161(h)(8)(B)(iv).
.6
7
Dated:
8      October 23, 2009

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10                                 GARLAND E. BURRELL, JR.
                                   United States District Judge
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